            Case 15-06152-hb                       Doc 12            Filed 12/16/15 Entered 12/16/15 06:28:34                             Desc Main
                                                                     Document      Page 1 of 2

 Fill in this information to identify your case:                                                Check one box only as directed in this form and in
                                                                                                Form 122A-1Supp:
 Debtor 1            Gary Lee Blevins

 Debtor 2
 (Spouse, if filing)
                                                                                                       1. There is no presumption of abuse
 United States Bankruptcy Court for the:            District of South Carolina
                                                                                                       2. The calculation to determine if a presumption of abuse
 Case number         15-06152                                                                              applies will be made under Chapter 7 Means Test
 (if known)                                                                                                Calculation (Official Form 122A-2).
                                                                                                       3. The Means Test does not apply now because of
                                                                                                           qualified military service but it could apply later.

                                                                                                       Check if this is an amended filing
Official Form 122A - 1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because
you do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from
Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.
 Part 1:       Calculate Your Current Monthly Income

  1. What is your marital and filing status? Check one only.
           Not married. Fill out Column A, lines 2-11.
           Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
           Married and your spouse is NOT filing with you. You and your spouse are:
              Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
              Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
              penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are
              living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7)(B).
    Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy
    case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount
    of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any
    income amount more than once. For example, if both spouses own the same rental property, put the income from that property in one column only.
    If you have nothing to report for any line, write $0 in the space.
                                                                                                   Column A                   Column B
                                                                                                   Debtor 1                   Debtor 2 or
                                                                                                                              non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before
     all payroll deductions).                                                                      $            613.75        $        3,803.51
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                                        $               0.00       $              0.00
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Include regular contributions from a spouse only if Column B is not
     filled in. Do not include payments you listed on line 3.                           $                          0.00       $              0.00
  5. Net income from operating a business, profession, or farm
                                                                      Debtor 1
       Gross receipts (before all deductions)                            $       0.00
       Ordinary and necessary operating expenses                         -$      0.00
       Net monthly income from a business, profession, or farm $                 0.00 Copy here -> $               0.00       $              0.00
  6. Net income from rental and other real property
                                                                                  Debtor 1
       Gross receipts (before all deductions)                            $       0.00
       Ordinary and necessary operating expenses                         -$      0.00
       Net monthly income from rental or other real property             $       0.00 Copy here -> $               0.00       $              0.00
                                                                                                   $               0.00       $              0.00
  7. Interest, dividends, and royalties
Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                page 1
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                               Best Case Bankruptcy
              Case 15-06152-hb                     Doc 12            Filed 12/16/15 Entered 12/16/15 06:28:34                                Desc Main
                                                                     Document      Page 2 of 2
 Debtor 1     Gary Lee Blevins                                                                         Case number (if known)    15-06152



                                                                                                   Column A                      Column B
                                                                                                   Debtor 1                      Debtor 2 or
                                                                                                                                 non-filing spouse
  8. Unemployment compensation                                                                     $                  0.00       $            0.00
       Do not enter the amount if you contend that the amount received was a benefit
       under the Social Security Act. Instead, list it here:
         For you                                             $                 0.00
            For your spouse                                           $                   0.00
  9. Pension or retirement income. Do not include any amount received that was a
     benefit under the Social Security Act.                                                        $                  0.00       $            0.00
  10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act or payments
      received as a victim of a war crime, a crime against humanity, or international or
      domestic terrorism. If necessary, list other sources on a separate page and put the
      total below.
               .                                                                                   $                  0.00       $            0.00
                                                                                                   $                  0.00       $            0.00
                    Total amounts from separate pages, if any.                                   + $                  0.00       $            0.00

  11. Calculate your total current monthly income. Add lines 2 through 10 for
      each column. Then add the total for Column A to the total for Column B.                $     613.75           +$          3,803.51      =$      4,417.26

                                                                                                                                               Total current monthly
                                                                                                                                               income

 Part 2:        Determine Whether the Means Test Applies to You

  12. Calculate your current monthly income for the year. Follow these steps:
       12a. Copy your total current monthly income from line 11                                              Copy line 11 here=>              $       4,417.26

              Multiply by 12 (the number of months in a year)                                                                                      x 12
       12b. The result is your annual income for this part of the form                                                                 12b. $        53,007.12

  13. Calculate the median family income that applies to you. Follow these steps:

       Fill in the state in which you live.                                  SC

       Fill in the number of people in your household.                       7
       Fill in the median family income for your state and size of household.                                                          13.    $      91,107.00
       To find a list of applicable median income amounts, go online using the link specified in the separate instructions
       for this form. This list may also be available at the bankruptcy clerk’s office.
  14. How do the lines compare?
       14a.            Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                       Go to Part 3.
       14b.            Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                       Go to Part 3 and fill out Form 122A-2.
 Part 3:        Sign Below
              By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

             X /s/ Gary Lee Blevins
                   Gary Lee Blevins
                   Signature of Debtor 1
        Date December 16, 2015
             MM / DD / YYYY
              If you checked line 14a, do NOT fill out or file Form 122A-2.
              If you checked line 14b, fill out Form 122A-2 and file it with this form.


Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                 page 2
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
